Case 2:19-cv-05030-JDW Document 126-8 Filed 04/20/21 Page 1 of 5




               EXHIBIT K
                 Case 2:19-cv-05030-JDW Document 126-8 Filed 04/20/21 Page 2 of 5




                 Pennsylvania Human Relations Commission and Philadelphia Commission on Human Relations




Charging Party, Delaney Yonchek ("Charging Party") was subjected to discrimination and harassment by Respondents, Middle East Forum, Greg
Roman, Daniel Pipes, and Matt Bennett (collectively “Respondents”) based upon Charging Party’s sex and gender. The discrimination and
harassment to which Charging Party was subjected was severe and pervasive and created a hostile work environment. Charging Party’s
supervisors were Greg Roman, Daniel Pipes, and Matt Bennett. During Charging Party’s employment, Respondents, including Respondent, Greg
Roman, subjected Charging Party to discrimination and harassment by cursing, yelling, screaming, shouting, insulting, belittling, disparaging,
and verbally abusing female staff including Charging Party, Delaney Yonchek. Charging Party, Delaney Yonchek reported Respondent, Greg
Roman’s severe and pervasive discrimination and harassment and was thus subjected to retaliation. Respondent, Greg Roman created a hostile
work environment and then enforced policies whereby Charging Party and the other female staff were denied the ability to report the severe and
pervasive discrimination and harassment in the workplace. Respondent, Greg Roman initiated, implemented and enforced a policy whereby
female staff members were not allowed to interact with the President of the Middle East Forum. Daniel Pipes. Respondent, Greg Roman actively
and willfully worked to subjugate female employees of the Middle East Forum through policies designed to impede, obstruct, and prevent female
employees from vindicating their right pursuant to Title VII of the Civil Rights Act. Respondent, Greg Roman ordered female employees
including Charging Party never to speak directly with President, Daniel Pipes. In November 2018, Charging Party, Delaney Yonchek notified and
reported Respondent, Greg Roman’s discrimination and harassment of the female staff during a meeting with Respondent, Daniel Pipes when
almost every female employee of the Middle East Forum came forward together to report the severe and pervasive discrimination and harassment
to which female staff were subjected by Respondent, Greg Roman.
                   Case 2:19-cv-05030-JDW Document 126-8 Filed 04/20/21 Page 3 of 5




                    Pennsylvania Human Relations Commission and Philadelphia Commission on Human Relations



The female staff reported Respondent, Greg Roman’s harassment, bullying, and his intolerable, onerous, and abusive conduct and comments designed to
discriminate against female employees of the Middle East Forum. Those present at the November 9, 2018 meeting when the female staff held a group meeting with
Respondent, Daniel Pipes to report Respondent, Greg Roman’s discrimination and harassment in the workplace, included: Patricia McNulty, Lisa Barbounis,
Caitriona Brady, Respondent, Matt Bennett, Stacy Roman, Thelma Prosser, Marnie Meyer, Mark Fink, Respondent, Daniel Pipes, and Charging Party, Delaney
Yonchek. Stacy Roman is Respondent, Greg Roman’s sister. Her presence at a meeting held to report and begin investigation into Respondent, Greg Roman’s
discrimination and harassment in the workplace is indicative of Respondents’ utter and total disregard for the anti-discriminatory intent promulgated by Title VII.
Throughout the entire meeting, while the female staff who were subjected to severe and pervasive discrimination and harassment in the workplace attempted to
report Respondent, Greg Roman’s unlawful conduct, Respondent, Greg Roman’s sister, Stacy Roman was belligerent and interjected argumentative comments. For
example, Stacy Roman blamed the women who were subjected to discrimination and harassment based upon their sex and gender stating that they should not have
worn such short skirts. Notwithstanding, Respondent, Daniel Pipes and house counsel, Mark Fink refused to ask Stacy Roman to leave in order to provide the
female staff who were subjected to discrimination and harassment with a safe environment in which to make their reports. Moreover, Daniel Pipes actually invited
Respondent, Greg Roman to the meeting, although he did not attend. Respondent, Daniel Pipes coerced the female staff to sign nondisclosure agreements (“NDA”)
in order to attend. Respondent, Daniel Pipes would not allow the female staff including Charging Party, Delaney Yonchek to report discrimination and harassment
in the workplace until she signed an NDA. Respondent, Greg Roman set up cameras around the office and harassed the female staff by monitoring everything they
did, including Charging Party, Delaney Yonchek. These cameras are still operational today and Respondent, Greg Roman continues to harass the female staff using
surveillance equipment. Respondent, Greg Roman used the surveillance equipment to monitor female staff and how often and how long they used the bathroom.
Respondent, Greg Roman’s made certain that female staff knew they were being watched in an effort designed to harass, scare, intimidate, and alarm female staff
including Charging Party, Delaney. Respondent, Greg Roman told female employees how many times they used the restroom in a given day. For example, he
would say, Delaney used the bathroom five (5) times today. Respondent, Greg Roman actively attempted to have sexual relations with interns. Due to this
information and Respondent, Greg Roman’s history of discrimination and harassment, female staff including Charging Party are afraid to be alone with
Respondent Greg Roman. Charging Party sent text messages to Respondent Mat Bennett notifying Respondent, Matt Bennett that she was afraid to be along with
Respondent, Greg Roman. Respondent, Matt Bennett refused to conduct an investigation. No corrective action was taken. Respondent, Greg Roman forced
female employees to sit next to him at his desk, instead of across from him. Respondent, Greg Roman got inappropriately close to the female staff including
Charging Party, Delaney Yonchek. Respondent, Greg Roman forced female staff to sit with him and watch inappropriate videos. Respondent, Greg Roman
continued to divulge inappropriate sexual information to female staff. For example, Respondent, Greg Roman spoke about his girlfriend giving him blowjobs.
Respondent, Greg Roman gave $1,200.00 to an intern named Gabrielle Bloom in a quid pro quo sexual exchange. Respondent, Greg Roman started inappropriate
sexual rumors involving staff members including the employee who Charging Party worked with, Caitriona Brady. Respondent, Greg Roman informed people in
the office that Caitriona Brady’s father was having a sexual affair with another staff member. Respondent, Daniel Pipes also maintained sexual relationships with
employees including an employee named Brook Goldstein. At present, Charging Party is subjected to a severe and pervasive atmosphere of discrimination and
harassment based upon her sex and gender and in retaliation for Charging Party’s reports and opposition to discrimination and harassment. Charging Party
continues her attempts to report and obtain assistance from Respondent, Daniel Pipes. Respondent, Daniel Pipes continues to protect, shield, indemnify and assist
Respondent, Greg Roman from any and all impact caused by his severe and pervasive discrimination and harassment. Accordingly, Respondent, Daniel Pipes has
condoned, sanctioned, permitted, and allowed the discrimination, harassment, and retaliation to continue. Respondents have made Charging Party’s working
conditions so onerous, abusive, and intolerable that no person in Charging Party’s shoes should be expected to continue working under such conditions. As a result
of Respondents’ actions, Charging Party felt extremely humiliated, degraded, victimized, embarrassed and emotionally distressed. As a result of Respondents’
conduct, Charging Party was caused to sustain serious and permanent personal injuries, including permanent psychological injuries. As a result of Respondents’
actions, Charging Party felt extremely humiliated, degraded, victimized, embarrassed and emotionally distressed. As a result of the acts and conduct complained of
herein, Charging Party has suffered and will continue to suffer a loss of income, loss of salary, bonuses, benefits and other compensation to which such employment
entailed. Charging Party also suffered future pecuniary losses, emotional pain, humiliation, suffering, inconvenience, loss of enjoyment of life, and other non-
pecuniary losses. Charging Party has further experienced severe emotional and physical distress. As Respondents’ conduct has been malicious, willful, outrageous,
and conducted with full knowledge of the law, Charging Party demands Punitive Damages as against all the Respondents, jointly and severally. Respondents have
exhibited a pattern and practice of not only discrimination but also retaliation. At all times material Respondents refused to investigate or take appropriate
remedial action in response to Charging Party’s complaints of discrimination, harassment and hostile work environment. Respondents discriminatory conduct was
severe and pervasive, and created a hostile work environment for Charging Party. The above are just some examples of some of the discrimination and retaliation
to which Respondents subjected Charging Party. Charging Party claims a pattern and practice of discrimination, claims continuing violations, and makes all claims
herein under the continuing violations doctrine. Respondents have exhibited a pattern and practice of not only discrimination but also retaliation.
Case 2:19-cv-05030-JDW Document 126-8 Filed 04/20/21 Page 4 of 5
      Case 2:19-cv-05030-JDW Document 126-8 Filed 04/20/21 Page 5 of 5

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___________________________________________________________________________
                                    :
DELANEY YONCHEK                     :     EQUAL EMPLOYMENT
107 Drummers Lane                   :     OPPORTUNITY COMMISSION
Wayne, PA 19087                     :
                     Charging Party :     June 20, 2019
vs.                                 :
                                    :
MIDDLE EAST FORUM                   :     TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600      :
Philadelphia, PA 19103              :
and                                 :     PENNSYLVANIA HUMAN
DANIEL PIPES (individually)         :     RELATIONS COMMISSION
and                                 :
GREG ROMAN (individually)           :     AND
and                                 :
MATTHEW BENNETT (individually)      :      PHILADELPHIA COMMISSION
                                    :      ON HUMAN RELATIONS
                     Respondents.   :

                               ENTRY OF APPEARANCE


   Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party,

DELANEY YONCHEK, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                    SETH D. CARSON, ESQUIRE

DATED: June 20, 2019
